 UNITED      STATES
           Case          DISTRICT COURT
                  1:19-cr-00795-SHS            Document 194 Filed 11/06/20 Page 1 of 1
 SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                    :   19-Cr-795 (SHS)

                 -v-                                          :   ORDER

 JONATHAN RODRIGUEZ,                                          :

                                   Defendant.                 :

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 SIDNEY H. STEIN, U.S.D.J.

        A plea via videoconference is scheduled to take place in this matter via Skype on
 November 18, 2020, at 1:30 p.m. The Skype link will be emailed to all participants. To
 optimize use of the Court’s video conferencing technology, all participants in the call must:
         Use a browser other than Microsoft Explorer to access Skype for Business;
         Position the participant’s device as close to the WiFi router as is feasible;
         Ensure any others in the participant’s household are not using WiFi during the period of
 the call;
        Unless the participant is using a mobile telephone to access Skype for Business, connect
 to audio by having the system call the participant; and
         If there is ambient noise, the participant must mute his or her device when not speaking.
Co-counsel, members of the press, and the public may access the audio feed of the conference by
dialing 917-933-216 and entering Participant Code: 974021956.

Dated: New York, New York
       November 6, 2020
